                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


    DeSHEILA HOWLETT,                                              2:17-CV-11260-TGB

                           Plaintiff,

           vs.                                                       TRIAL NOTICE

    WARREN, CITY OF, et al.,

                           Defendants.


                 EVENT                               DEADLINE
    Motions in limine due                 TWO WEEKS before final pretrial conference

    Responses to Motions in                 ONE WEEK before final pretrial conference
    limine
    Final Pretrial Order due                ONE WEEK before final pretrial conference

    Settlement          statements          ONE WEEK before final pretrial conference
    due
    Final pretrial conference
                                                Tuesday, April 04, 2023 at 10:00 a.m.
    and settlement
    conference
    Trailing trial dates1                      Wednesday, April 19, 2023 at 9:00 a.m.
                                                 through Thursday, May 31, 2023
    Estimated length of trial                               4-6 days

                                             JURY TRIAL




1   Counsel should be prepared to begin trial at any time on 48 hours’ notice within these dates.
The following practices shall govern the conduct of this case:
TRAILING TRIAL DOCKET. Due to the substantial backlog of jury
trials and the continued limited availability of jury selection dates as a
result of the COVID-19 pandemic, the Court has adopted a trailing trial
docket. Unfortunately, this requires the Court to schedule several cases
for trial on the same date. Moreover, the Court is neither able to provide
its usual advanced notice of jury trial dates nor move a scheduled trial
date absent the most extraordinary of circumstances. Counsel shall take
all necessary steps – including but not limited to securing witness
testimony by video and engaging backup lead trial counsel – to be
prepared for trial any time on 48 hours’ notice between the trailing trial
dates listed above.
FINAL PRETRIAL CONFERENCE. Because the main focus of the
final pretrial conference will be on settlement, counsel must bring their
clients and any persons with full settlement authority up to Plaintiff’s
demand with them to the conference. The parties shall adhere to the
following procedures:
All parties with settlement authority are required to be present. An
insured party need not attend unless the settlement decision will be
made in part by the insured. When the settlement decision will be made
in whole or part by an insurer, the insurer must send a representative in
person with full and complete authority to make settlement decisions. A
corporate party must send an authorized representative with full and
complete authority to bind the company. A governmental entity must
send an authorized representative with full and complete authority to
bind the governmental entity. Failure to produce the appropriate
person(s) at the conference may result in an award of costs and attorney
fees incurred by the other parties in connection with the conference
and/or other sanctions against the noncomplying party and/or counsel.
Seven days before the settlement conference, the parties shall submit
confidential, ex-parte settlement statements directly to chambers. DO
NOT FILE THESE STATEMENTS ON THE DOCKET. The statements
shall be limited to five (5) pages, and shall include the following:
  1. A brief description of the nature of the case;
  2. The parties’ perceived strengths and weaknesses of their respective
     positions;
  3. A brief summary of all settlement discussions that have taken place
     to date, including the history of any offers/counter-offers that have
     been made;
  4. A statement of why the most recent demand or offer was rejected;
     and
  5. A realistic statement of what the party requires in order to settle
     the case.

Counsel may also attach up to five exhibits, which are deemed to be
particularly crucial to demonstrate the parties’ positions.
One attorney for each party should be prepared to give a short summary
of their case at the beginning of the settlement conference. The summary
should identify the remaining issues in the case and the evidence that
supports the party’s position on those issues.
The Court will also discuss trial procedures and final pretrial matters
including the trial schedule, parties’ proposed voir dire questions and
jury instructions, as well as any issues related to witnesses and exhibits.
Unless the Court instructs otherwise, the parties must submit their
witness lists one week prior to the final pretrial conference. In addition,
the parties must also jointly prepare and submit their proposed voir dire
questions, jury instructions, and verdict form. These jointly prepared
documents must be submitted directly to chambers using the Proposed
Orders function in CM/ECF and should NOT be filed on the docket.
FINAL PRETRIAL ORDER. The proposed Joint Final Pretrial Order
must be submitted through the proposed orders function of CM/ECF on
or before the date set by this order, which shall be no later than one week
before the date of Final Pretrial Conference. All witnesses must be listed
in the Final Pretrial Order. Witnesses may only be added to the Final
Pretrial Order by stipulation of the parties and leave of court. Counsel
shall follow the procedure outlined in the court’s practice guidelines to
prepare for the final pretrial conference and the Final Pretrial Order. The
parties shall prepare the Joint Final Pretrial Order in conformance with
all the requirements of Local Rule 16.2.
REQUIRED PRIOR TO TRIAL. At least ONE WEEK prior to the
beginning of trial, counsel shall furnish to the court the following:
In jury cases, any requests for VOIR DIRE, proposed JOINT JURY
INSTRUCTIONS and the VERDICT FORM. The parties shall file with
the court a single set of proposed, stipulated jury instructions and a
single, proposed verdict form. The instructions are to be typewritten and
double spaced and shall contain references to authority (e.g., “Devitt and
Blackmar, Section 11.08"). Additionally, each party shall separately file
any additional proposed instructions to which any other party objects.
The parties must make a concerted, good faith effort to narrow the areas
of dispute and to discuss each instruction with a view to reaching an
agreement as to an acceptable form.
A statement of claims or defenses, no longer than two pages, suitable to
be read to the jury during opening instructions.
EXHIBITS. Counsel are required to mark all proposed exhibits in
advance of trial. Plaintiff’s exhibits shall use numbers and Defendant’s
exhibits shall use letters. A consecutive number and lettering system
should be used by each party. The parties are required to exchange
marked exhibits three days prior to the start of trial. Counsel are also
required to maintain a record of all admitted exhibits during trial.
Counsel for each party must keep custody of that party’s admitted
exhibits during trial. A party who objects to this provision must file a
written objection prior to jury selection.
JUDGE’S COPIES. An electronic copy of the proposed Final Pretrial
Order, and proposed joint Jury Instructions, and verdict form, must be
submitted through the proposed orders function of CM/ECF.



     DATED this 6th day of January, 2023.

                                  BY THE COURT:
/s/Terrence G. Berg
TERRENCE G. BERG
UNITED STATES DISTRICT JUDGE
